Vickie K. Williams

From: Sean T. White

Sent: Tuesday, February 07, 2012 3:43 PM

To: John Rogers; ‘Britt, Kent A.'; Donnellon, Daniel J.; Weigand, Stephen A.; Chris Trapp
Ce: LaTour, Randall D.; Richardson, Eric W.; Hine, David F.

Subject: RE: Fifth Third Discovery [IWOV-DMS.FID81085]

lam available for a call as well. As stated, the Trustee has no objection to the depositions being noticed in the
bankruptcy case and the adversary proceedings. However, we cannot agree to a limit of one deposition of seven hours.
It is unreasonable to agree in advance to a seven hour time limit that restricts all parties and requires complete
coordination among them for the limited time. As special counsel we would go first and make every effort to make the
deposition efficient. | am certain that other counsel would agree to make similar representations. But as Dan and
others have pointed out, itis premature to agree in the abstract that everyone will be able to complete all of their
questions in seven hours. Moreover, we do not have a complete production of documents from Fifth Third. Finally,
Fifth Third did not even raise this issue until you after informed us that its employees were unavailable the week of Jan.
31. We need to get these depositions scheduled so that we can complete our investigation.

From: John Rogers [mailto:JohnR@rubin-levin.net]

Sent: Tuesday, February 07, 2012 3:16 PM

To: ‘Britt, Kent A."; Donnellon, Daniel J.; Sean T. White; Weigand, Stephen A.; Chris Trapp
Cc: LaTour, Randall D.; Richardson, Eric W.; Hine, David F.

Subject: RE: Fifth Third Discovery [IWOV-DMS.FID81085]

| too believe a call is appropriate.

It’s certainly true | have not been directly involved in scheduling of depositions by the Trustee’s counsel, though we
intend to be present on behalf of our client, Superior, at the same. Of course, the motion filed by Fifth Third directly
seeks to affect our discovery rights, and to limit those rights with regard to depositions in a manner tied to the
depositions scheduled by the Trustee, and hence we have an obvious interest.

As Dan has said, we have no desire to repeatedly depose the same witnesses about the same subjects, and do not
intend to do so.

| do not see any need for the parties to “stipulate” to what the rules provide. What you are seeking, however, goes
beyond what the rules state. While the relevant rule presumptively provides for depositions limited te 1 day for 7 hours,
it also notes that the court “must allow” additional time consistent with Rule 26{b)(2) if needed to fairly examine the
deponent. it is further unclear how the rule applies where there are multiple adversary proceedings with different
issues.

As you know, Sean White is operating under a time frame established by the Court for submission of a report. While
many of us are interested in deposing witnesses regarcing the same matters which are the subject of that report, it is
certainly possible there will be additional issues not pertinent to that report for which depositions may be needed in
other adversary cases. As you also know, we have not yet received all of the documents requested from Fifth Third.

Under ail of these circumstances, we certainly cannot agree that the depositions scheduled by Sean White will
necessarily be the only depositions of those witnesses for all matters connected with the case, nor co the rules so
require.

From: Britt, Kent A. [mailto:KABritt@vorys.com]
Sent: Tuesday, February 07, 2012 2:55 PM
To: Donnellon, Daniel J.; Sean T. White; Weigand, Stephen A.; John Rogers; Chris Trapp

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Cc: LaTour, Randall D.; Richardson, Eric W.; Hine, David F.
Subject: RE: Fifth Third Discovery [IWOV-DMS.FID81085]

Dan,

How about we speak today at 4:30 pm? If that works, please circulate a call-in number. Thank you.

Kent

From: Donnellon, Daniel J. [mailto:ddonnellon@ficlaw.com]
Sent: Tuesday, February 07, 2012 2:47 PM

To: Britt, Kent A.; Sean T. White; Weigand, Stephen A.; johnr(@rubin-levin.net; ctrapp@rubin-levin.net
Ce: LaTour, Randall D.; Richardson, Eric W.; Hine, David F.
Subject: RE: Fifth Third Discovery [I] WOV-DMS.FID81085]

I personally think a call would be helpful. Indeed, I think it is required under local rule 37.1 which Fifth Third
ignored. There are many parties to these proceedings, I have no idea how many will show up. I also think Sean
has been tasked by the judge with an “investigation” of claims and their “potential availability” to the Estate.
Therefore, any notion that we should agree in advance to one and only one visit with each witness, for a
duration of no more than 7 hours, is very premature. I can certainly agree to reasonable restrictions and the
federal rules provide guidance. But, when we still do not have all the relevant documents from Fifth Third, and
J am not the one in charge of the “investigation,” I am in no position to execute any stipulation and do not
believe we should be called upon to do so.

If you want to proceed with arguing the demerits of your motion, then I will file an objection and we will
proceed. But, to file for a protective order before document production is complete, before even one deposition
is noticed, before having a conference mandated by the rules, and in response to an investigation ordered by the
Court, seems quite brazen.

From: Britt, Kent A. [mailto:KABritt@vorys.com]

Sent: Tuesday, February 07, 2012 2:37 PM

To: Donnellon, Daniel J.; Sean T. White; Weigand, Stephen A.; johnr@rubin-levin.net; ctrapp@rubin-levin.net
Ce: LaTour, Randall D.; Richardson, Eric W.; Hine, David F.

Subject: RE: Fifth Third Discovery [[WOV-DMS.FID8$1085]

Gentlemen,
I write in response to your emails below. As an initial matter, Fifth Third has been served with discovery

requests by distinct and separate parties and will respond accordingly. The only common issue is the subject of
depositions, which we address herein. We will respond to the individual discovery assertions by separate email ~
with the parties who served those requests.

As for the eagerness to discuss the depositions and Fifth Third’s pending motion, we are admittedly a little
perplexed. Mr. Donnellon takes offense to the notion that counsel in this case would subject Fifth Third’s
witnesses to 77 hours of depositions, but is silent as to any representation that he will agree that Fifth Third’s
witness will be deposed only once for seven hours per the Federal Rules of Civil Procedure. Likewise, Mr.
Rogers (who, until today, did not appear to be involved in the Trustee’s discussion of depositions) has also not
indicated that he will agree that Fifth Third’s witnesses shall be deposed only once for seven hours. Finally,
though Mr. White mentioned in his letter of February 6, 2012, that the Trustee would agree to notice the
depositions in the main bankruptcy proceeding and in the related adversary proceedings, this representation was
made only after Fifth Third filed its motion and had attempted to resolve the issue on this point. Fifth Third had
previously requested the stipulation in a phone call, an email, and a formal letter, but Mr. White never
responded with the Trustee’s position.

At this point, if you are willing to stipulate that Fifth Third’s witnesses will only be subjected to one deposition
each, we will promptly circulate a stipulation to all other counsel of record. Assuming that they, too, are willing
to enter into such a stipulation, Fifth Third will withdraw its motion, and we can proceed with scheduling the
depositions. If, however, you will not enter into such a stipulation, you will need to respond to Fifth Third’s
motion.

Please advise as to whether you plan to oppose Fifth Third’s motion, or whether you are agreeable to a
stipulation that each of Fifth Third’s witnesses will be deposed only once. If you believe that a telephone
conference on the issue of depositions is required, we will arrange our schedules this afternoon to accommodate
such a call.

We await your response.

Kent
Kent A. Britt

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From: Donnellon, Daniel J. [mailto:ddonnellon@ficlaw.com]

Sent: Tuesday, February 07, 2012 8:58 AM

To: Britt, Kent A.; Hine, David F.; LaTour, Randall D.

Ce: Sean T. White; Weigand, Stephen A.; johnr@rubin-levin.net; ctrapp@rubin-levin.net
Subject: Fifth Third Discovery [[WOV-DMS.FID81085]

Kent and David

I am a little distressed by the lack of progress in obtaining discovery from Fifth Third after our meeting on
January 19. First, it took more than 2 weeks to generate a simple letter that said nothing more than the YCB
“Jack Henry Associates” documents in the 2009 investigation were not generated by YCB’s Yellow Hammer
software and that you are “working on” everything else. Second, you filed a motion for a protective order
blaming Mr. White for being difficult and requiring court intervention. Mr. White’s letter of February 6,
however, completely disabuses any notion that he was being uncooperative and even states that there was no
mandatory discovery conference. I agree with Mr. White that Fifth Third should withdraw the motion
immediately. It is preposterous to think that the fine lawyers in these cases, all officers of the court, would
subject any Fifth Third witness to 77 hours of deposition testimony.

We have serious issues with the lack of production of documents which, 1 thought, we addressed amicably
when we met in my office. J would like to arrange another meeting, or at the very minimum, a conference call
among, Mr. White, the Vorys lawyers, the FIC lawyers, and the Rubin Levin lawyers to discuss and resolve the
discovery issues. Please consider this the Rule 37.1 conference that you avoided before filing your motion. If
Special Counsel and the other creditors are required to file opposition papers to your motion, which you have
asked to be heard on Monday, February 13, then, under the local rules our objections may arguably be due
today, or at the latest tomorrow.

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Accordingly, could everyone please give me times you are available TODAY for the conference. As long as
the conference is before 5, I will rearrange my schedule to accommodate yours.

Daniel J. Donnellon, Esq.| Faruki Ireland & Cox P.L.L. | Email: ddonnellon@ficlaw.com
Tel: 513.632.0308 | Fax: 513.632.0319

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